Case 3:24-cv-02401-L-AHG      Document 1        Filed 12/19/24   PageID.1   Page 1 of 57




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  11                 UNITED STATES DISTRICT COURT
  12
               FOR THE SOUTHERN DISTRICT OF CALIFORNIA

  13
        DIONTE BRADLEY, individually               Civil Action No.:'24CV2401 L      AHG
  14
        and on behalf of all others similarly
  15    situated,                                  COMPLAINT – CLASS
                                                   ACTION
  16
                       Plaintiff,                  1. FRAUD
  17
        v.                                         2. NEGLIGENT
  18                                                  MISREPRESENTATION
  19    LUXOTTICA OF AMERICA, INC.                 3. BREACH OF CONTRACT
        D/B/A SUNGLASS HUT,                        4. UNJUST ENRICHMENT
  20
                                                   5. VIOLATION OF
  21                   Defendant.
                                                      CALIFORNIA’S
  22                                                  CONSUMER LEGAL
                                                      REMEDIES ACT
  23
                                                   6. VIOLATION OF
  24                                                  CALIFORNIA’S FALSE
  25                                                  ADVERTISING LAW
  26
                                                   7. VIOLATION OF
                                                      CALIFORNIA’S FALSE
  27                                                  ADVERTISING LAW,
  28
                                           1
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.2    Page 2 of 57




   1                                                BUS, & PROF. CODE
   2                                             8. VIOLATION OF
                                                    CALIFORNIA UNFAIR
   3
                                                    COMPETITION LAW
   4

   5
                                                 JURY TRIAL DEMANDED
   6

   7

   8

   9
  10
             Plaintiff Dionte Bradley (“Plaintiff”), individually and on behalf of all
  11
       others similarly situated, brings this action against Defendant Luxottica of
  12

  13 America, Inc. d/b/a Sunglass Hut (“Sunglass Hut” or “Defendant”), and

  14
       alleges based upon personal knowledge with respect to himself and on
  15

  16
       information and belief derived from, among other things, investigation of

  17 counsel and review of public documents as to all other matters:

  18
                              NATURE OF THE ACTION
  19

  20      1. With the sheer volume of online products being offered, consumers rely

  21 on accurate pricing to make informed decisions. Unfortunately, many retailers

  22
       engage in deceptive and misleading practices by advertising products as
  23

  24 “sales” or “markdowns” by showing significantly inflated “reference prices”

  25 or “regular prices” that are rarely, if ever, actually charged. These fake

  26
       reference prices fool consumers into thinking they are getting a great deal at
  27

  28
                                          2
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.3   Page 3 of 57




   1 the “sale” price, when in fact, they have merely been tricked by the retailer,

   2
       and in reality the consumer is paying the same amount, or even more than,
   3

   4 the usual price of the item. The effect of this unlawful tactic is to set

   5 consumers’ perception of the value of a product at a grossly inflated level,

   6
       thereby inducing consumers to unwittingly pay more for the product than they
   7

   8 might normally pay. Furthermore, researchers have found that when

   9 consumers believe that the supposedly reduced price will end soon, they are
  10
       more likely to buy now, rather than wait or comparison shop, and buy
  11

  12 someplace else. But in many instances, the reference price is not a true
                    1


  13 discount.

  14
           2. Highlighting how these false sales have become a true problem in the
  15

  16 marketplace, the Federal Trade Commission (“FTC”) created a rule

  17 prohibiting the practice. 16 C.F.R. § 233.1. The FTC identified this practice

  18
       as a form of “deceptive pricing” that denies consumers the value of the
  19

  20 bargain that they thought they were receiving.

  21       3. Sunglass Hut has engaged in just such a deceptive pricing scheme.
  22
       Sunglass Hut advertises perpetual or near perpetual discounts on many of its
  23

  24

  25
       Patrick Coffee, Thought You Saved $60 on that Vacuum Cleaner? Think
       1

  26 Again,     Wall     St.   J.    (Aug.    24,    2023),    available at:
  27
     https://www.wsj.com/articles/thought-you-saved-60-on-that-vacuum-
     cleaner-think-again-c89ce344 (Last accessed December 9, 2024).
  28
                                          3
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.4    Page 4 of 57




   1 products, supposedly offering discounts of up to 50% off Sunglass Hut’s self-

   2
       created, fictitious reference prices. Sunglass Hut represents to consumers that
   3

   4 its reference price is the “regular” or “normal” price of the item, which

   5 functions as a new and inflated reference point from which consumers

   6
       discount their “savings” on various products.
   7

   8      4. Sunglass Hut’s reference prices are false because Sunglass Hut rarely,

   9 if ever, offers the products for the reference price. Instead, the inflated
  10
       reference prices allow Sunglass Hut to continually advertise “sale” events and
  11

  12 product discounts in order to induce consumers into purchasing products. In

  13 reality, the “sale” price is the price at which Sunglass Hut regularly sells the

  14
       product, but the consumer has been tricked into thinking he found a great
  15

  16 discount.

  17      5. To illustrate, below is a June 9, 2024 screengrab from Sunglass Hut’s
  18
       website for MK1090 Amsterdam “on sale” for $91.50 from an original price
  19

  20 of $183.

  21

  22

  23

  24

  25

  26

  27

  28
                                          4
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.5    Page 5 of 57




   1

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   4

   5

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   8

   9
          6. Below is a screengrab of the same product, taken from Sunglass Hut’s
  10

  11 website approximately three months later, on September 8, 2024, which still

  12
       reveals the inflated reference price of $183 and false discount price of $91.50.
  13

  14

  15

  16

  17

  18
  19

  20

  21

  22

  23

  24
          7. Sunglass Hut’s practice of falsely inflating reference prices in order to
  25
       give the illusion of higher value, bigger discounts, and a false sense of time
  26

  27 pressure, constitutes false advertising, and is an unfair and deceptive practice

  28
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                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.6   Page 6 of 57




   1 under California’s Consumer Legal Remedies Act (“CLRA”) Cal. Civ. Code

   2
       §§ 1750 et seq.
   3

   4      8. Accordingly, Plaintiff, on behalf of himself and the Classes (as defined

   5 below) now seeks to hold Sunglass Hut accountable for its unfair, deceptive,

   6
       and unlawful policy of displaying false or misleading discount or “sale”
   7

   8 prices. Plaintiff seeks to bring claims on behalf of a Nationwide Class and a

   9 California Subclass (collectively “Classes”) of consumers who purchased
  10
       falsely discounted products on Sunglass Hut’s website and is seeking, among
  11

  12 other things, to recover damages and injunctive or declaratory relief ordering

  13 Defendant to disgorge all revenues unjustly received from the proposed

  14
       Classes due to its intentional and unlawful practice of using false reference
  15

  16 prices and false discounts.

  17                                    PARTIES
  18
          9. Plaintiff Dionte Bradley is an individual citizen of the State of
  19

  20 California and a natural adult person who resides in San Diego County,

  21 California.

  22
          10.      Defendant Luxottica of America, Inc. d/b/a Sunglass Hut is a
  23

  24 Delaware corporation with its headquarters located at 4000 Luxottica Place

  25 in Mason, Ohio. Luxottica of America, Inc. operates more than 1,400

  26
       Sunglass Hut retail locations in the United States.
  27

  28
                                          6
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.7     Page 7 of 57




   1

   2
                            JURISDICTION AND VENUE
   3

   4      11.      The Court has subject matter jurisdiction over this action under

   5 the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in

   6
       controversy exceeds $5 million, exclusive of interest and costs. Upon
   7

   8 information and belief, the number of class members is over 100, many of

   9 whom have different citizenship from Defendant. Thus, minimal diversity
  10
       exists under 28 U.S.C. § 1332(d)(2)(A).
  11

  12      12.      This Court has personal jurisdiction over Defendant because it

  13 can be found in and operates in this District, and generally conducts

  14
       substantial business in the State of California. Defendant has sufficient
  15

  16 minimum contacts in California, and/or otherwise intentionally avails itself to

  17 the California market through the operation of its e-commerce website within

  18
       the State of California, knowingly and intentionally shipping goods into the
  19

  20 State of California for decades, and a substantial part of the unlawful business

  21 practices which give rise to this action occurred in this District.

  22
          13.      This Court may exercise personal jurisdiction over Defendant to
  23

  24 the fullest extent allowed under the Federal Due Process Clause. Defendant

  25 has certain minimum contacts with the State of California. Defendant has and

  26
       continues to purposefully perform some acts or consummate some
  27

  28
                                          7
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24    PageID.8    Page 8 of 57




   1 transactions in the State of California, and Plaintiff’s claims arise from, or are

   2
       connected with, Defendant’s transactions. The assumption of jurisdiction by
   3

   4 this Court does not offend traditional notions of fair play and substantial

   5 justice, consideration being given to the quality, nature, and extent of the

   6
       activity in the State of California, the relative convenience of the parties, the
   7

   8 benefits and protection of laws of the State of California afforded the

   9 respective parties, and the basic equities of the situation.
  10
          14.        Defendant operates a website, www.sunglasshut.com, by which
  11

  12 it advertises and sells its goods in California. The website is regularly viewed

  13 by and used to purchase products by consumers in California.

  14
          15.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
  15

  16 because a substantial part of the events giving rise to this action occurred in

  17 this District. For example, Plaintiff was in San Diego County, California

  18
       when he saw the false discount representations on Sunglass Hut’s website and
  19

  20 placed the order on Sunglass Hut’s website after relying on the deceptive

  21 advertised price displayed. Sunglass Hut shipped the goods Plaintiff

  22
       purchased to Plaintiff’s home in Lemon Grove, California.
  23

  24                           FACTUAL BACKGROUND
  25            I.   FALSE REFERENCE PRICING SCHEMES
  26
          16.        Consumers’ reactions to sales and to false sales are well studied
  27

  28
                                           8
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24    PageID.9    Page 9 of 57




   1 in academic literature. Research shows that reference prices, such as those

   2
       used by Defendant, materially impact consumers’ behavior. A reference price
   3

   4 affects a consumer’s perception of the value of the transaction, the consumer’s

   5 willingness to make the purchase, and the amount of money the consumer is

   6
       willing to pay for the product. 2
   7

   8       17.      This deceptive practice involves three elements, most easily

   9 shown through an example using a retailer that wants to sell a blue shirt with
  10
       a market value of $35. First, the retailer advertises an inflated “reference
  11

  12 price” or the “strike through price” for that shirt, which the retailer wants the

  13 consumer to believe is that shirt’s normal price. For this example, that price

  14
       is $50. The problem is that the retailer has not actually sold the shirt for $50,
  15

  16 nor could it do so because the market will not bear such an inflated price when

  17 other similar blue shirts are sold for less. Instead that $50 price is fictitious,

  18
       created by the retailer in order to show the consumer the second element in
  19

  20 the fraud: a supposed “discount” off that fictitious reference price. In this

  21 example, that amounts to a 30% discount. Then, in the third element, the

  22

  23

  24  Urbany, Joel E., William O. Bearden and Dan Weilbaker (1988), “The
       2


  25
     Effect of Plausible and Exaggerated Reference Prices on Consumer
     Perceptions and Price Search,” Journal of Consumer Research, 15 (June), 95–
  26 110; Chandrashekaran, Rajesh (2004), “The Influence of Redundant

  27
     Comparison Prices and Other Price Presentation Formats on Consumers’
     Evaluations and Purchase Intentions,” Journal of Retailing, 80 (1), 53–66.
  28
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                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.10     Page 10 of 57




    1 retailer presents the consumer with the “new” discounted price of $35 for the

    2
        blue shirt, which the retailer wanted to sell the shirt for all along. As part of
    3

    4 this scheme, the retailer wants the consumer to believe that the shirt is worth

    5 $50 and that the consumer is getting a deal by actually paying $15 less, which

    6
        induces the consumer to make a purchase under the false belief that he is
    7

    8 getting a bargain on a more valuable shirt (30% off a $50 product in this

    9 example) and creates a false sense of urgency that the purported “discount”
   10
        or “sale” will end and the consumer will have to pay the “reference price” for
   11

   12 the shirt. Using this deception, retailers can even falsely induce consumers to

   13 pay prices above the market price, for example $40 for the blue shirt, because

   14
        the consumer still believes he is getting a deal, i.e., a 20% markdown.
   15

   16       18.      Accurate reference prices play an important role in consumers’
   17 ability to compare products because they allow consumers to make informed

   18
        decisions by comparing one retailer’s prices to another. This is especially true
   19

   20 where the consumer is comparing similar, though not identical, products such

   21 as two white T-shirts. In such circumstances, reference prices increase a

   22
        consumer’s interest in the product by increasing the consumer’s estimate of
   23

   24 savings offered by one retailer. “[A] higher plausible reference price . . .
                                      3


   25

   26

   27
        3
         Blair, Edward A. and E. Laird Landon, Jr. (1981), "The Effects of Reference
        Prices in Retail Advertisements," Journal of Marketing, 45 (Spring), 61-69.
   28
                                           10
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.11    Page 11 of 57




    1 consistently makes the offer appear to be a better value than if no reference

    2
        price appears.” 4 Therefore, when a retailer advertises its products with
    3

    4 inflated reference prices, consumers are harmed because they are denied the

    5 ability to accurately compare prices across the market, and they imbue the

    6
        advertised product with a false sense of value that they would not have
    7

    8 developed if the inflated reference price had not been listed.

    9        19.     Unsurprisingly, research shows that consumers prefer to get a
   10
        bargain. Indeed, “shoppers sometimes expend more time and energy to get a
   11

   12 discount than seems reasonable given the financial gain involved,” and “often

   13 derive more satisfaction from finding a sale price than might be expected on

   14
        the basis of the amount of money they actually save.” 5 The fear of losing such
   15

   16 a discount, because of the false impression given the retailer that the discount

   17 or sale price will not last forever, often induces the consumer to purchase

   18
        quickly, without performing comparison shopping.
   19

   20        20.     Studies also show that consumers are driven by internal and
   21 external reference prices. 6 Internal reference prices are a consumer’s price

   22

   23
        4
            Urbany, The Effect of Plausible and Exaggerated Reference Prices on
   24 Consumer Perceptions and Price Search, supra n. 1 at 106.

   25   Darke, Peter and Darren Dahl. “Fairness and Discounts: The Subjective
        5

      Value of a Bargain.” Journal of Consumer Psychology 13, No. 3 (2003): 328–
   26 338, at 328.

   27 Mayhew, Glenn E. and Russell S. Winer. “An Empirical Analysis of Internal
      6


   28
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                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24    PageID.12     Page 12 of 57




    1 expectations based on past experiences, stored in their memory. External

    2
        reference prices are prices encountered during the shopping experience, such
    3

    4 as suggested retail prices or sale tags. Research suggests that consumers
                                              7


    5 adjust their internal value expectations (i.e., internal reference prices) to align

    6
        with external reference prices they encounter. 8 In addition, for infrequently
    7

    8 purchased items, or unique items, consumers may lack an actual internal

    9 reference price simply because they have not priced the product previously,
   10
        and in such situations, consumers rely more heavily on the external reference
   11

   12 prices.

   13       21.     Retailers, including Defendant, understand that consumers are
   14
        vulnerable to perceived bargains. Thus, Sunglass Hut has a substantial
   15

   16 financial interest in exploiting consumers’ well-known behavioral tendencies

   17 by inducing consumers into believing they are receiving a bargain—even

   18
        when they are not. The phenomena of people disproportionately relying on an
   19

   20 initial piece of information when making a decision, known as “anchoring,”
                                                                                 9


   21

   22 and External Reference Prices using Scanner Data.” Journal of Consumer

   23 Research 19, No. 1 (1992): 62-70, at 68.
        Id. at 62.
        7
   24   Grewal, Dhruv, Kent B. Monroe, and Ramayya Krishnan. “The Effects of
        8

   25 Price-Comparison Advertising on Buyers’ Perceptions of Acquisition Value,
      Transaction Value, and Behavioral Intentions.” The Journal of Marketing 62
   26 (1998): 46-59, at 48.

   27
      9
         See Program on Negotiation, Anchoring Effect, HARV. L. SCH.,
   28
                                          12
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.13     Page 13 of 57




    1 is especially relevant in this context. Especially when shopping online,

    2
        consumers often encounter reference prices as the first, if not the only, insight
    3

    4 into a product’s value besides the sale price itself. Thus, consumers use the

    5 reference price as a baseline upon which to calculate a product’s true value.

    6
           22.       Deceptive and misleading pricing such as that employed by
    7

    8 Defendant causes consumers to pay more than they otherwise would have

    9 paid for products. It also misleadingly resets consumers’ true value
   10
        expectations by falsely representing the value of products in order to trick
   11

   12 consumers into paying more than the products are actually worth.

   13      23.       In addition to harming consumers, employing false reference
   14
        pricing disrupts the integrity and fairness that underlies retail markets. When
   15

   16 unethical retailers use misleading reference prices, they gain an unfair

   17 advantage over honest competitors offering similar products. In the forgoing

   18
        example, if the dishonest retailer is selling a blue shirt that is purportedly
   19

   20 valued at $50 for just $35, and the honest retailer is selling a similar $35 blue

   21 shirt for $35, the online consumer, who cannot otherwise evaluate the true

   22
        value of the shirt, is more likely to buy the supposedly more valuable $50
   23

   24 shirt, rather than the supposedly less valuable $35 shirt. If such unlawful

   25

   26 http://www.pon.harvar d.edu/tag/anchoring-effect (“[T]he anchoring effect,

   27
        [is] the tendency for the first offer to “anchor” the bargaining that follows in
        its direction, even if the offer recipient thinks the offer is out of line.”).
   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24     PageID.14    Page 14 of 57




    1 advertising practices remain unchecked, businesses that adhere to honest

    2
        practices will continue to be unfairly disadvantaged.
    3

    4      24.      Defendant knew or should have known that the use of false

    5 reference prices was misleading consumers to believe that they were

    6
        receiving a “sale” when, in fact, they were not. Moreover, Sunglass Hut
    7

    8 intended for reasonable consumers to understand the “sale” prices to be new

    9 prices that Sunglass Hut had reduced from its “regular” or “former” prices.
   10
        Defendant intentionally failed to disclose to Plaintiff and members of the
   11

   12 Classes the truth about its reference prices, i.e. that the prices were fabricated,

   13 and Defendant never offered the items at the reference prices during the

   14
        relevant period. Defendant intentionally sought to convey to consumers that
   15

   16 they were receiving a true markdown.

   17      25.      Defendant intentionally enacted a broad pricing scheme designed
   18
        to mislead customers into believing that the reference prices were the prices
   19

   20 at which the advertised product was formerly listed and the prevailing market

   21 rate of the advertised product.

   22
              II.   FALSE REFERENCE PRICING VIOLATES BOTH
   23               FEDERAL LAW AND STATE LAW
   24
           26.      It is well-established that false reference pricing violates federal
   25

   26 and state law. Even so, retailers, including Defendant, continue to use the

   27
        tactic because they know they will be able to increase sales and profits by
   28
                                          14
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.15    Page 15 of 57




    1 tricking consumers into making purchase decisions based on the falsely

    2
        inflated reference prices. Though the information available to consumers
    3

    4 varies between different types of products, consumers frequently lack full

    5 information about products and, as a result, often use information from

    6
        retailers to make purchase decisions.
    7

    8      27.      California law prohibits false reference pricing practices like

    9 those used by Defendant. See Cal. Bus. & Prof. Code § 17501 (expressly
   10
        prohibiting false former pricing schemes); see also Cal. Civ. Code §
   11

   12 1770(a)(9) (prohibiting a business from “[a]dvertising goods or services with

   13 intent not to sell them as advertised”), and Cal. Civ. Code § 1770(a)(13)

   14
        (prohibiting a business from “[m]aking false or misleading statements of fact
   15

   16 concerning reasons for, existence of, or amounts of price reductions”).

   17      28.      The Ninth Circuit Court of Appeals recognizes the harm that can
   18
        come from advertising false and deceptive reference prices. In Hinojos v.
   19

   20 Kohl’s Corp., 718 F.3d 1098 (9th Cir. 2013), the court found that “[m]ost

   21 consumers have, at some point, purchased merchandise that was marketed as

   22
        being ‘on sale’ because the proffered discount seemed too good to pass up.
   23

   24 Retailers, well aware of consumers’ susceptibility to a bargain, therefore have

   25 an incentive to lie to their customers by falsely claiming that their products

   26
        have previously sold at a far higher ‘original’ price in order to induce
   27

   28
                                          15
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.16      Page 16 of 57




    1 customers to purchase merchandise at a purportedly marked- down ‘sale’

    2
        price. Because such practices are misleading—and effective—the California
    3

    4 legislature has prohibited them.” Id. at 1101.

    5      29.      The FTC also recognizes the fraudulent nature of fictitious and
    6
        artificial sale pricing. The FTC’s rules have long included “Part 233—Guides
    7

    8 Against Deceptive Pricing” which states in relevant part:

    9               One of the most commonly used forms of bargain
   10               advertising is to offer a reduction from the
                    advertiser’s own former price for an article. If the
   11               former price is the actual, bona fide price at which
   12               the article was offered to the public on a regular
                    basis for a reasonably substantial period of time, it
   13               provides a legitimate basis for the advertising of a
   14               price comparison. Where the former price is
                    genuine, the bargain being advertised is a true one.
   15               If, on the other hand, the former price being
   16               advertised is not bona fide but fictitious
                    -- for example, where an artificial, inflated price
   17               was established for the purpose of enabling the
   18               subsequent offer of a large reduction -- the
                    “bargain” being advertised is a false one; the
   19               purchaser is not receiving the unusual value he
   20               expects. In such cases, the “reduced price” is, in
                    reality, probably just the seller’s regular price. 16
   21               C.F.R § 233.1(a).
   22
        The FTC guidance provides several useful examples of such deceptive sales:
   23

   24               An advertiser might use a price at which he never
                    offered the article at all; he might feature a price
   25               which was not used in the regular course of
   26               business, or which was not used in the recent past
                    but at some remote period in the past, without
   27
                    making disclosure of that fact; he might use a price
   28
                                         16
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1      Filed 12/19/24   PageID.17      Page 17 of 57




    1                that was not openly offered to the public, or that was
    2                not maintained for a reasonable length of time, but
                     was immediately reduced. 16 C.F.R § 233.1(d).
    3

    4         III.   DEFENDANT USED FALSE REFERENCE PRICING TO
                     DECEIVE ITS CUSTOMERS
    5

    6      30.       Using deceptive pricing tactics, Defendant lures consumers by

    7 advertising its products at seemingly discounted “sale” prices compared to

    8
        significantly marked-up reference prices. These fictitious reference prices are
    9
   10 never actually charged, making the “discounts” misleading.

   11      31.       Defendant’s advertised discounts are fictitious because the
   12
        reference prices do not represent a bona fide price at which Defendant
   13

   14 previously sold, or offered to sell, the products on a regular basis, for a

   15 commercially reasonable period of time, as required by the FTC. In addition,

   16
        the advertised reference prices were not the prevailing market retail price
   17

   18 within the three months (90 days) immediately preceding the publication of
   19 the advertised former reference price, as required by California law.

   20
           32.       As a direct result of Defendant’s actions, all consumers who
   21

   22 purchased products that were advertised with false reference prices and/or

   23 misleading discounts on Defendant’s website have been deceived and have

   24
        been undeniably harmed, in that they would not have purchased these
   25

   26 products but for the misleading pricing. They have suffered an economic

   27
        injury by being misled into paying more than the products were actually
   28
                                           17
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.18    Page 18 of 57




    1 worth.

    2
           33.      Defendant’s false pricing scheme has directly harmed all
    3

    4 customers who were tricked into buying discounted products on its website.

    5 By creating a false perception of significant savings, Sunglass Hut

    6
        fraudulently inflated demand for its products. This has shifted the demand
    7

    8 curve, allowing Sunglass Hut to charge higher prices and generate more sales

    9 than would have been possible had it used honest pricing practices.
   10
           34.      Consumers, like Plaintiff, were deceived by Defendant’s
   11

   12 misleading discounts. They did not receive the substantial savings that were

   13 advertised, nor were the products actually worth the inflated reference prices.

   14
        Moreover, consumers would not have purchased the products at the purported
   15

   16 “sale” price but for the misleading reference price.

   17      35.      The misleading nature of Defendant’s reference prices and
   18
        discounts was cleverly disguised and could not be detected by a reasonable
   19

   20 consumer exercising due diligence, particularly because the deception was

   21 hidden over an extended period of time. The only way for a consumer to

   22
        detect Defendant’ deception would be if the consumer meticulously followed
   23

   24 the price of the product every day for months, especially for retailers like

   25 Defendant, who often sells custom items (i.e., items under its own brand).

   26
           36.      Defendant continues to engage in these deceptive practices on its
   27

   28
                                         18
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.19     Page 19 of 57




    1 website by advertising false reference prices and misleading discounts. There

    2
        is no indication that it will voluntarily cease these tactics. Even if it were to
    3

    4 stop temporarily, there is a high risk that it would resume these deceptive

    5 practices in the future.

    6
           37.       Defendant’s actions towards consumers and the general public
    7

    8 demonstrate malice, fraud, and/or oppression. Its deceptive practices have had

    9 a significant negative impact on the Plaintiff, the Classes of affected
   10
        consumers, and the public at large.
   11

   12      38.       The advertised reference prices and discounts for Defendant’s

   13 products on Defendant’s website are misleading. The “sale” price is often

   14
        very close to, if not higher than, the true price for these products. The listed
   15

   16 reference price of Defendant’s products is inflated and does not reflect the

   17 actual selling price.

   18
   19
           39.       For example, during the 99-day period from January 1, 2024

   20 through April 9, 2024, the following products have been offered at a

   21
        “discount,” when in fact they were not sold at the reference price at any point
   22

   23 during that time period:

   24

   25
                 Product Name              Reference      Days Sold       Days “On
   26                                        Price       at Reference       Sale”
   27                                                        Price

   28
                                           19
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1   Filed 12/19/24   PageID.20    Page 20 of 57




    1               FE40017I                $500             0             98
    2
                   CL40197U                 $420             0             98
    3

    4              FE40038U                 $480             0             98
    5
                    FE40022U                $700             0             98
    6

    7            Curvy LW40096I             $310             0             98
    8
                    CL4005IN                $460             0             98
    9
   10              CL40242I                 $440             0             98
   11
                    CL40240I                $440             0             98
   12

   13              Fendigraphy              $460             0             98
   14
                    FE40030I                $290             0             98
   15
            Bold 3 Dots CL4240IS            $1050            0             98
   16

   17            OO4054 Caveat              $190             0             98
   18
   19                RB3492                 $206             0             98

   20                TY7138                 $213             0             98
   21
                  HC7114L1148               $173             0             98
   22

   23             MK1072 Porto              $140             0             98
   24

   25

   26      40.       The reference chart above contains merely a fraction of those
   27
        products listed as “discounted” on Sunglass Hut’s website when, in fact, they
   28
                                           20
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1    Filed 12/19/24   PageID.21    Page 21 of 57




    1 were not listed any time for the referenced price in the preceding 90 days.

    2
           41.      The below screen shot is an example of how Sunglass Hut
    3

    4 presents its deceptive pricing to consumers. It shows the HC8352 CD472

    5 listed at a discount price of $119, which reflects approximately 30% savings

    6
        off of the “reference” price of $170. This screenshot is from February 14,
    7

    8 2024.

    9
   10

   11

   12

   13

   14

   15

   16

   17

   18
   19
           42.      Approximately two months later, on April 14, 2024, the HC8352
   20
        CD472 was still listed at a supposedly discounted price of $119, reflecting
   21

   22 approximately 30% savings off of the “reference” price of $170.

   23

   24

   25

   26

   27

   28
                                         21
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG   Document 1    Filed 12/19/24   PageID.22   Page 22 of 57




    1

    2

    3

    4

    5

    6

    7

    8

    9
   10
         43.      Approximately two months later, on June 16, 2024, the HC8352
   11

   12 CD472 was still listed at a supposedly discounted price of $119, reflecting

   13 approximately 30% savings off of the claimed “reference” price of $170.

   14

   15

   16

   17

   18
   19

   20

   21

   22

   23
         44.      And just over two more months later, on August 25, 2024, the
   24

   25 HC8352 CD472 was still listed at a supposedly discounted price of $119,

   26 reflecting approximately 30% savings off the claimed “reference” price of –

   27

   28
                                        22
                              CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1    Filed 12/19/24    PageID.23    Page 23 of 57




    1 still - $170.

    2

    3

    4

    5

    6

    7

    8

    9
   10

   11

   12      45.        For a significant and uninterrupted period of time over several
   13
        months, Sunglass Hut ran what appeared to be sales on many of its products.
   14

   15
        These supposed discounts were often substantial, reaching up to 50%. Even

   16 though the exact discount amount might fluctuate slightly, the products were

   17
        advertised as on “sale;” however, all or nearly all the advertised sale products
   18
   19 are never actually offered for purchase or sold at the reference price.

   20         IV.     PLAINTIFF FELL VICTIM                   TO     DEFENDANT’S
   21                 DECEPTIVE PRACTICES

   22      46.        Plaintiff is, and at all relevant times has been, a resident and
   23
        citizen of the State of California. On or around June 10, 2024, while browsing
   24

   25 Defendant’ website, Plaintiff saw an advertisement boasting significant

   26 “savings” on various products.

   27

   28
                                           23
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24    PageID.24    Page 24 of 57




    1      47.       Defendant’s website presented an original marked-through price,
    2
        which was the reference price, to the right of the lower “sale price.” The below
    3

    4 image represents what Plaintiff saw when purchasing the product:

    5

    6

    7

    8

    9
   10

   11

   12

   13

   14

   15

   16      48.       After seeing the reference price of $47, Plaintiff specifically
   17
        chose to purchase the product because Plaintiff believed he was receiving a
   18
   19 significant discount on the product he had chosen. Because he was interested

   20 in the product and felt that the discounted price would likely not last, and that

   21
        he was getting a significant bargain on the product, Plaintiff chose to
   22

   23 immediately move forward with purchasing it. As a reasonable consumer, he

   24 trusted that the products had a value commensurate with the reference price.

   25
        Thus, the advertised “sale” appeared to be a genuine discount.
   26

   27      49.       Relying on the advertised savings, Plaintiff added the products

   28
                                           24
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24      PageID.25   Page 25 of 57




    1 to his cart and completed the purchase. A copy of the receipt is attached hereto

    2
        as Exhibit A.
    3

    4      50.       Unbeknownst to Plaintiff, Sunglass Hut rarely, if ever, offered

    5 its products at the advertised “regular” reference prices, and did not do so for

    6
        the product Plaintiff purchased at any time in the 90 days prior to that
    7

    8 purchase. Simply put, Defendant intentionally deceived Plaintiff. The actual

    9 value of the product purchased did not match the inflated reference price
   10
        Plaintiff was led to believe was the true value of the glasses. Thus, the
   11

   12 advertised “sale” wasn't a deal, or even a sale, at all.

   13      51.       Defendant’s inflated reference prices and misleading discounts
   14
        were significant and material misrepresentations that directly influenced
   15

   16 Plaintiff’s purchase. Plaintiff relied on this false information in good faith.

   17 Had Plaintiff known the truth, he would not have bought the product for the

   18
        price that he did.
   19

   20      52.       Defendant’s misrepresentations were material because a
   21 reasonable consumer relies on such information when making purchasing

   22
        decisions.
   23

   24      53.       As a direct consequence of Defendant’ actions, Plaintiff was
   25 financially harmed. He would not have purchased the product at the same

   26
        price absent Defendant’ misrepresentation. The advertised discounts were
   27

   28
                                          25
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.26     Page 26 of 57




    1 illusory, and the products were not worth the reference price listed by

    2
        Defendant, as Plaintiff was led to believe.
    3

    4      54.       Moreover, Plaintiff was damaged because Defendant’s false

    5 pricing scheme inflated the true market value of the item Plaintiff purchased.

    6
        Even though Defendant’s false pricing scheme is pervasive on its website, not
    7

    8 every advertised sale is in fact false, and as such, without substantial effort,

    9 Plaintiff and other consumers cannot know which sales are false and which
   10
        are true. Thus, Plaintiff is susceptible to this reoccurring harm because he
   11

   12 cannot be certain that Defendant has corrected the deceptive pricing scheme,

   13 and Plaintiff desires to shop at Defendant’s website in the future. Plaintiff

   14
        does not have the resources to always (or even regularly) determine whether
   15

   16 Sunglass Hut is complying with state and federal law with respect to its

   17 pricing practices by watching the price over the course of several months.

   18
           55.       Plaintiff has the legal right – now and in the future – to expect
   19

   20 truthful and accurate information from Defendant regarding advertised prices

   21 and discounts. Plaintiff, and the other members of the Classes, will be harmed

   22
        if, in the future, they are left to guess as to whether Sunglass Hut is providing
   23

   24 a legitimate sale, and whether products are actually worth the amount that

   25 Defendant is representing. If Plaintiff were to trust that Defendant has

   26
        reformed its pricing practices and were to purchase again from Defendant, he
   27

   28
                                           26
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.27    Page 27 of 57




    1 would have no way of knowing if the advertised discounts were legitimate.

    2
        Plaintiff continues to be interested in purchasing products that are sold by
    3

    4 Defendant and offered at discounted prices, but he will be unable to trust and

    5 rely on Defendant’s website pricing. Absent injunctive relief, Plaintiff cannot

    6
        know whether Defendant’s reference prices represent true former prices, and
    7

    8 the true value of the item, or inflated reference prices employed in order to

    9 deceive customers into believing that a legitimate discount is being offered.
   10
        Thus, Plaintiff will be harmed on an ongoing basis and/or will be harmed once
   11

   12 or more in the future.

   13      56.        The deceptive practices described herein are not limited to the
   14
        specific product Plaintiff purchased or categorical group of products. The
   15

   16 misleading advertising and sales tactics employed by Sunglass Hut are

   17 systematic and widespread across its entire website, impacting customers

   18
        nationwide.
   19

   20            V.   CLASS DEFINITION AND ALLEGATIONS
   21      57.        Plaintiff brings this action pursuant to Rule 23(b)(2) and (b)(3)
   22
        of the Federal Rules of Civil Procedure on behalf of himself and on behalf of
   23

   24 all other persons similarly situated.

   25      58.        Plaintiff proposes the following Class definitions, subject to
   26
        amendment as appropriate:
   27

   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG        Document 1      Filed 12/19/24    PageID.28      Page 28 of 57




    1                  Nationwide Class (the “Nationwide Class” or
    2                  “Class”)
                       All individuals who, within the applicable
    3                  limitations period, purchased from the Defendant’s
    4                  website one or more products that were advertised
                       or promoted by displaying or disseminating a
    5                  reference price or discount for an item that was not
    6                  advertised for sale at the reference price at any point
                       in the 90 days preceding their purchase.
    7

    8                  California Subclass (“California Subclass” or
                       “Subclass”)
    9                  All individuals who, within the applicable
   10                  limitations period, purchased from the Defendant’s
                       website one or more products that were advertised
   11                  or promoted by displaying or disseminating a
   12                  reference price or discount for an item that was not
                       advertised for sale at the reference price at any point
   13                  in the 90 days preceding their purchase.
   14
           59.         Excluded from the Class and Subclass (collectively “Classes”)
   15

   16 are Defendant, their parents, subsidiaries, affiliates, officers and directors, and

   17 judicial officers and their immediate family members and associated court

   18
        staff assigned to this case.
   19

   20      60.         Plaintiff reserves the right to modify or amend the definitions of

   21 the proposed Classes before the Court determines whether certification is

   22
        appropriate.
   23

   24      61.         The proposed Classes meet the criteria for certification under

   25 Fed. R. Civ. P. 23(a), (b)(2), and (b)(3).

   26
           62.         Numerosity: This action is appropriately suited for a class
   27

   28
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                                   CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1    Filed 12/19/24   PageID.29    Page 29 of 57




    1 action. The members of the Classes are so numerous that the joinder of all

    2
        members is impracticable. Upon information and belief, the proposed Classes
    3

    4 contain well over 100 members, and likely thousands of individual purchasers

    5 who have been damaged by Defendant’s conduct as alleged herein, the

    6
        identity of whom is within the knowledge of Defendant and can be easily
    7

    8 determined through Defendant’s records.

    9      63.      Commonality: This action involves questions of law and fact
   10
        common to the Classes. The common legal and factual questions include, but
   11

   12 are not limited to, the following:

   13         a.    Whether Defendant made false or misleading statements of fact
   14               in its advertisements;
   15
              b.    Whether Defendant’s policies and actions regarding its
   16               advertising were unfair, deceptive, or misleading;
   17
              c.    The accuracy of Defendant’s advertised reference prices and
   18               discounts;
   19
              d.    Whether Defendant breached their contract with Plaintiff and the
   20               Class members;
   21
              e.    Whether Defendant were unjustly enriched as a result of its
   22
                    actions with respect to reference pricing and discounts
   23               advertised;
   24
              f.    Whether the alleged conduct of Defendant violates California
   25               Civil Code §§ 1750 et seq., California Business & Professions
                    Code §§ 17500 et seq., California Business & Professions Code
   26
                    §§ 17501 et seq and/or California Business & Professions Code
   27               §§ 17200 et seq.
   28
                                         29
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.30     Page 30 of 57




    1

    2         g.     Whether Plaintiff and the members of the Classes have suffered
                     injury and have lost money or property as a result of such false
    3                or misleading discounts and reference prices;
    4
              h.     Whether Defendant should be enjoined from further engaging in
    5                the misconduct alleged herein.
    6
              i.     Whether Plaintiff and the members of the Classes are entitled to
    7                declaratory and injunctive relief and the nature of that relief.
    8
           64.       Typicality: Plaintiff’s claims are typical of the claims of the
    9
   10 members of the Classes, because, inter alia, Plaintiff and all members of the

   11
        Classes purchased Defendant’s products advertised at a discount on
   12
        Defendant’s website. Moreover, Plaintiff’s claims are typical of the Class
   13

   14 members’ claims because Plaintiff is advancing the same claims and legal

   15
        theories on behalf of herself and all members of the Classes. In addition,
   16

   17
        Plaintiff is entitled to relief under the same causes of action and upon the same

   18 facts as all other members of the proposed Classes.
   19
           65.       Adequacy: Plaintiff will fairly and adequately represent and
   20

   21
        protect the interests of the members of the Classes and has retained competent

   22 counsel experienced in complex litigation and class action litigation. Plaintiff

   23
        has no interests antagonistic to those of the members of the Classes and
   24

   25 Defendant has no defenses that are unique to Plaintiff.

   26      66.       Superiority: A class action is superior to other methods for the
   27

   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24    PageID.31    Page 31 of 57




    1 fair and efficient adjudication of this controversy. The damages or other

    2
        financial detriment suffered by individual class members is relatively small
    3

    4 compared to the burden and expense that would be created by individual

    5 litigation of their claims against Defendant. It would be virtually impossible

    6
        for a member of the Classes, on an individual basis, to obtain effective redress
    7

    8 for the wrongs done to him or her. Further, even if the members of the Classes

    9 could afford such individualized litigation, the court system could not.
   10
        Individualized litigation would create the danger of inconsistent or
   11

   12 contradictory judgments arising from the same set of facts. Individualized

   13 litigation would also increase delay and expense to all parties and the court

   14
        system arising from such individual claims. By contrast, the class action
   15

   16 device provides the benefits of adjudication of these issues in a single

   17 proceeding, economies of scale, and comprehensive supervision by a single

   18
        court, and presents no management difficulties under the circumstances here.
   19

   20      67.       Plaintiff seeks monetary damages, including compensatory
   21 damages on behalf of the Classes, and other equitable relief on grounds

   22
        generally applicable to the Classes as a whole and to the public. Unless a Class
   23

   24 is certified, Sunglass Hut will be allowed to profit from its unfair and unlawful

   25 practices, while Plaintiff and the members of the Classes will have suffered

   26
        damages. Unless a Class-wide injunction is issued, Sunglass Hut will likely
   27

   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.32    Page 32 of 57




    1 continue to benefit from the violations alleged, and the members of the

    2
        Classes and the general public will likely continue to be victimized.
    3

    4      68.      Sunglass Hut has acted and refused to act on grounds generally

    5 applicable to the Classes, making final injunctive relief appropriate with

    6
        respect to the Classes as a whole.
    7

    8      69.      All applicable statutes of limitations have been tolled by the

    9 delayed discovery doctrine. Plaintiff and members of the Classes could not
   10
        have reasonably discovered Defendant’s practice of running perpetual and/or
   11

   12 extended sales, based on deceptive reference prices and deceptive sale prices,

   13 at any time prior to commencing this class action litigation.

   14
           70.      A reasonable consumer viewing Sunglass Hut’s website on
   15

   16 multiple occasions would simply believe that a product just happens to be on

   17 sale when the consumer is on the website. Short of visiting and checking the

   18
        website for months continuously or creating automated means of recording
   19

   20 the price over a substantial period of time, a reasonable consumer would not

   21 suspect that Defendant’s sales and pricing practices were false or misleading.

   22
        Nor would a reasonable consumer be able to ascertain the true value of the
   23

   24 products being sold absent extensive investigation, which reasonable

   25 consumers would not be on notice to have to do.

   26
           71.      Plaintiff did not learn of Defendant’s deceptive practices alleged
   27

   28
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                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.33     Page 33 of 57




    1 herein until shortly before retaining counsel in this action.

    2
           72.       As a result, any and all applicable statutes of limitations
    3

    4 otherwise applicable to the allegations herein have been tolled.

    5                             CAUSES OF ACTION
    6
                                       COUNT I
    7            FRAUD – INTENTIONAL MISREPRESENTATION AND
    8                                 OMISSION
                          (On behalf of Plaintiff and the Class)
    9
   10      73.       Plaintiff repeats and realleges each and every allegation

   11 contained in paragraphs 1–72 as if fully set forth herein.

   12
           74.       Defendant made false and misleading statements of fact and
   13

   14 material omissions concerning the existence reference prices and the amounts

   15 of price reductions. These representations were false because the false

   16
        reference prices advertised in connection with products offered on the website
   17

   18 misled, and continue to mislead, consumers into believing the products were
   19 previously sold on the website at the higher reference prices, when in fact they

   20
        were not. Defendant knew that these representations were false at the time
   21

   22 that it made them and/or acted recklessly in making the misrepresentations.

   23      75.       Defendant had a duty to accurately disclose the truth about its
   24
        pricing information, including that the reference prices advertised on the
   25

   26 website were not truly former prices and that the “discount” price advertised

   27
        was not truly a discount. Reasonable consumers were likely to be deceived,
   28
                                          33
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.34     Page 34 of 57




    1 and were deceived, by Defendant’s failure to disclose material information.

    2
           76.      Defendant knew that the items Plaintiff and the members of the
    3

    4 Class purchased had rarely, if ever, been offered or sold on the website at the

    5 higher reference price in the recent past.

    6
           77.      Defendant’s representations were made with the intent that
    7

    8 Plaintiff and the members of the Class would rely on the false representations

    9 and spend money they otherwise would not have spent, purchase items they
   10
        otherwise would not have purchased, and/or spend more money for an item
   11

   12 than they otherwise would have absent the deceptive pricing scheme.

   13      78.      Defendant employed this scheme in order to incentivize
   14
        consumers with the sole intent of maximizing profits to the detriment of those
   15

   16 same consumers.

   17      79.      Defendant intended that Plaintiff, and all members of the Class,
   18
        rely on its false representations. Plaintiff and all members of the Class
   19

   20 reasonably relied on Defendant’s representations. Absent Defendant’s

   21 misrepresentations, Plaintiff and the members of the Class would not have

   22
        purchased the items from Defendant, or, at the very least, they would not have
   23

   24 paid as much for the items as they ultimately did. Plaintiff’s and the Class

   25 members’ reliance was a substantial factor in causing their harm.

   26
           80.      Had the true reference price not been omitted, Plaintiff and the
   27

   28
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                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1    Filed 12/19/24   PageID.35    Page 35 of 57




    1 members of the Class reasonably would have behaved differently. Among

    2
        other things, they would not have purchased the items they purchased from
    3

    4 Defendant or, at the very least, would not have paid as much for the items as

    5 they ultimately did.

    6
           81.        As a direct and proximate result of the above, Plaintiff and the
    7

    8 members of the Class have suffered damages because: (a) they would not have

    9 purchased Defendant’s products if they had known that the representations
   10
        were false, and/or (b) they overpaid for the products because the products
   11

   12 were sold at a premium price due to the misrepresentations.

   13      82.        Plaintiff and the members of the Class are also entitled to
   14
        punitive or exemplary damages. Defendant, through senior executives and
   15

   16 officers, undertook the illegal acts intentionally or with conscious disregard

   17 of the rights of Plaintiff and the Class, and did so with fraud, malice, and/or

   18
        oppression.
   19

   20      83.        Based on the allegations above, Defendant’s actions were
   21 fraudulent because Defendant intended to and did deceive and injure Plaintiff

   22
        and the members of the Class. Based on the allegations above, Defendant’s
   23

   24 conduct was made with malice because Defendant acted with the intent to

   25 cause and did cause injury to Plaintiff and all members of the Class, and

   26
        because Defendant willfully and knowingly disregarded the rights of Plaintiff
   27

   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1      Filed 12/19/24   PageID.36   Page 36 of 57




    1 and all members of the Class.

    2
                                       COUNT II
    3                    NEGLIGENT MISREPRESENTATION
    4                     (On behalf of Plaintiff and the Class)

    5      84.       Plaintiff repeats and realleges each and every allegation
    6
        contained in paragraphs 1 – 83 as if fully set forth herein.
    7

    8      85.       As alleged more fully herein, Defendant made false or

    9 misleading statements and/or material omissions of fact concerning the
   10
        existence of and the amounts of price reductions because Defendant falsely
   11

   12 represents the products as on sale, when in truth the reference price was a

   13 fictitious price, rendering the purported “sale” a fictitious discount. When

   14
        Defendant made these misrepresentations, it knew or should have known that
   15

   16 they were false. Defendant had no reasonable grounds for believing that these

   17 representations were true when made.

   18
           86.       By choosing to advertise a reference price, Defendant had a duty
   19

   20 to accurately disclose the truth about its pricing, including the fact that the

   21 reference prices advertised and published on the website were not truly former

   22
        prices and that the “discount” price advertised was not a true discount.
   23

   24      87.       Defendant knew its sales were falsely advertised with a false
   25 reference price. Defendant also knew or should have known that the reference

   26
        prices were not the prevailing market prices or true value of the products.
   27

   28
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                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24    PageID.37     Page 37 of 57




    1 Defendant further knew that the items Plaintiff and the Class purchased had

    2
        rarely, if ever, been offered or sold on the website at the false reference price.
    3

    4      88.        Defendant had no good faith or reasonable basis to believe that

    5 its representations were true when made.

    6
           89.        Defendant’s representations were made with the intent that
    7

    8 Plaintiff and the members of the Class rely on the false representations and

    9 spend money they otherwise would not have spent, purchase items they
   10
        otherwise would not have purchased, and/or spend more money for an item
   11

   12 than they otherwise would have absent the deceptive pricing scheme.

   13      90.        Class-wide reliance can be inferred because Defendant’s
   14
        misrepresentations were material, i.e. a reasonable consumer would consider
   15

   16 them important in deciding whether to buy Defendant’ products.

   17      91.        Defendant’s misrepresentations were a substantial factor and
   18
        proximate cause in causing damage and losses to Plaintiff and the members
   19

   20 of the Class.

   21      92.        Defendant engaged in this fraud to the Plaintiff and the Class
   22
        members’ detriment to increase Defendant’s own sales and profits.
   23

   24      93.        Plaintiff and the members of the Class reasonably relied on
   25 Defendant’s       representations.   Absent    Defendant’s     misrepresentations,
   26
        Plaintiff and the members of the Class would not have purchased the items
   27

   28
                                           37
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.38    Page 38 of 57




    1 they purchased from Defendant, or, at the very least, they would not have paid

    2
        as much for the items as they ultimately did. Plaintiff and the Class members’
    3

    4 reliance was a substantial factor in causing them harm.

    5      94.       Had the omitted information been disclosed, Plaintiff and the
    6
        members of the Class reasonably would have behaved differently. Among
    7

    8 other things, they would not have purchased the items they purchased from

    9 Defendant or, at the very least, would not have paid as much for the items as
   10
        they did.
   11

   12      95.       As a direct and proximate result of the above, Plaintiff and the

   13 members of the Class have suffered damages because they would not have

   14
        purchased Defendant’s products if they had known that the representations
   15

   16 were false, and/or they overpaid for the products because the products were

   17 sold at a price premium due to the misrepresentations.

   18
                                       COUNT III
   19                          BREACH OF CONTRACT
   20                      (On behalf of Plaintiff and the Class)
   21      96.       Plaintiff repeats and realleges each and every allegation
   22
        contained in paragraphs 1–95 as if fully set forth herein.
   23

   24      97.       Defendant offered products for sale to Plaintiff and the members
   25 of the Class under the terms advertised on Defendant’s website.

   26
           98.       The terms of Defendant’s offer provided that Defendant would
   27

   28
                                           38
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1   Filed 12/19/24   PageID.39    Page 39 of 57




    1 sell Plaintiff and the members of the Class products that have a market value

    2
        equal to the reference prices displayed. The terms also required that
    3

    4 Defendant provide Plaintiff and the members of the Class with the discount

    5 listed on Defendant’s website.

    6
           99.      The specific discount was a material term of each contract.
    7

    8      100.     The terms of the offer also provided that Plaintiff and the

    9 members of the Class would pay Defendant for the products purchased.
   10
           101.     Plaintiff and the members of the Class accepted Defendant’s
   11

   12 offer and paid Defendant for the products they ordered, thereby satisfying all

   13 conditions of their contracts.

   14
           102.     Defendant breached the contracts with Plaintiff and the members
   15

   16 of the Class by failing to provide products that had a market value equal to

   17 the reference price displayed on its website, and by failing to provide the

   18
        promised discount.
   19

   20      103.     As a direct and proximate result of Defendant’s breaches,
   21 Plaintiff and the members of the Class were deprived of the benefit of their

   22
        bargained-for exchange, and have suffered damages in an amount to be
   23

   24 established at trial.

   25                                  COUNT IV
   26                          UNJUST ENRICHMENT
                  (On behalf of Plaintiff and the members of the Class)
   27

   28
                                         39
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.40     Page 40 of 57




    1      104.     Plaintiff repeats and realleges each and every allegation
    2
        contained in paragraphs 1–103 as if fully set forth herein.
    3

    4      105.     Plaintiff brings this claim in the alternative to the contract-based

    5 claims, including her breach of contract claim.

    6
           106.     Plaintiff brings this claim individually and on behalf of the
    7

    8 members of the Class against Defendant.

    9      107.     Plaintiff and the members of the Class conferred a benefit on
   10
        Defendant, which Defendant knew about, when it initiated its false pricing
   11

   12 scheme.

   13      108.     Plaintiff and members of the Class were, and many continue to
   14
        be, consumers of Defendant’s products. They reasonably believed that
   15

   16 Defendant would not falsely advertise discounted products. Plaintiff and

   17 members of the Class suffered financial losses when they were deceived into

   18
        purchasing products that they reasonably believed to be on sale. By inflating
   19

   20 the reference price and then offering a “sale,” Defendant creates a false sense

   21 of urgency, a misleading perception of value, and a misleading perception of

   22
        savings, tricking customers into paying more than they should or would for
   23

   24 Defendant’s product. Customers who rely on advertised sales to make

   25 informed decisions are deceived into paying a premium for the product and

   26
        do not receive a product worth as much as Defendant represented the product
   27

   28
                                          40
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG         Document 1     Filed 12/19/24   PageID.41    Page 41 of 57




    1 to be worth.

    2
           109.         This deceptive practice undermines fair competition and allows
    3

    4 Defendant to profit unfairly. Defendant has accepted and retained these

    5 benefits as a result of its sales of merchandise offered at a false discounted

    6
        price, making Defendant’s retention of them unjust.
    7

    8      110.         By its wrongful acts and omission described herein, including

    9 engaging in deceitful and misleading advertising practices by using false
   10
        discounts to lure in consumers to purchase products they would not have
   11

   12 otherwise purchased or for amounts they would not have otherwise paid,

   13 Defendant was unjustly enriched at the expense of Plaintiff and the members

   14
        of the Class.
   15

   16      111.         Plaintiff’s and the Class members’ detriment, and Defendant’s
   17 enrichment, were related to and flowed from the wrongful conduct alleged in

   18
        this Complaint.
   19

   20      112.         Defendant has profited from its unlawful, unfair, misleading, and
   21 deceptive practices at the expense of Plaintiff and the members of the Class.

   22
        It would be inequitable for Defendant to retain the profits, benefits, and other
   23

   24 compensation obtained from its wrongful conduct described herein.

   25      113.         Plaintiff and the members of the Class have been damaged as a
   26
        direct and proximate result of Defendant’s unjust enrichment.
   27

   28
                                             41
                                   CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.42    Page 42 of 57




    1      114.     Plaintiff and the members of the Class are entitled to recover
    2
        from Defendant all amounts wrongfully collected and improperly retained by
    3

    4 Defendant.

    5      115.     As a direct and proximate result of Defendant’s wrongful
    6
        conduct and unjust enrichment, Plaintiff and the members of the Class are
    7

    8 entitled to restitution of, disgorgement of, and/or imposition of a constructive

    9 trust upon all profits, benefits, and other compensation obtained by Defendant
   10
        for its inequitable and unlawful conduct.
   11

   12                            COUNT V
      VIOLATION OF CALIFORNIA’S CONSUMER LEGAL REMEDIES
   13                         ACT (“CLRA”)
   14                  Cal. Civ. Code §§ 1750 et seq.
             (On behalf of Plaintiff and the California Subclass)
   15

   16      116.     Plaintiff repeats and realleges each and every allegation
   17 contained in paragraphs 1–115 as if fully set forth herein.

   18
           117.     Plaintiff brings this claim individually and on behalf of the
   19

   20 members of the California Subclass against Defendant.

   21      118.     Plaintiff and all members of the California Subclass are
   22
        “persons” and “consumers” as defined in Cal. Civ. Code § 1761(d).
   23

   24      119.     Defendant is a “person” as defined in Cal. Civ. Code § 1761(c).
   25      120.     The products purchased by Plaintiff and the members of the
   26
        California Subclass from Defendant are “goods” as defined by Cal. Civ. Code
   27

   28
                                          42
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.43     Page 43 of 57




    1 § 1761(a).

    2
            121.    Plaintiff’s and the California Subclass members’ purchases from
    3

    4 Defendant constitute “transactions,” as defined by Cal. Civ. Code § 1761(e).

    5       122.    The CLRA prohibits “unfair methods of competition and unfair
    6
        or deceptive acts or practices undertaken by any person in a transaction
    7

    8 intended to result or which results in the sale or lease of goods or services to

    9 any consumer.” Cal. Civ. Code § 1770.
   10
            123.    As alleged herein, Defendant engaged in unfair and deceptive
   11

   12 acts or practices insofar as they made and disseminated false and misleading

   13 statements of facts in its advertisements to class members by using false

   14
        reference prices and advertising fake discounts in violation of the CLRA. See
   15

   16 Id.

   17       124.    Defendant’s conduct as described herein was and is in violation
   18
        of the CLRA. Defendant’s conduct violates at least the following enumerated
   19

   20 CLRA provisions:

   21               a. Cal. Civ. Code § 1770(a)(5): Representing that goods or
   22               services have characteristics, uses, benefits, or quantities
                    that they do not have or that a person has a sponsorship,
   23               approval, status, affiliation, or connection that the person
   24               does not have;
   25               b. Cal. Civ. Code § 1770(a)(9): Advertising goods or
   26               services with intent not to sell them as advertised; and
   27
                    c. Cal. Civ. Code § 1770(a)(13): Making false or
   28
                                          43
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.44   Page 44 of 57




    1                misleading statements of fact concerning reasons for,
    2                existence of, or amounts of price reductions.

    3      125.      Defendant has violated Section 1770(a)(5) by representing that
    4
        products offered for sale on its website have characteristics or benefits that
    5

    6 they do not have. Specifically, Defendant represents that the value of their

    7 products is greater than it actually is by advertising inflated reference prices

    8
        and false discounts.
    9
   10      126.      Defendant has violated Section 1770(a)(9) by advertising its

   11 products as being offered at a discount, when in fact Defendant do not intend

   12
        to sell the products at a discount.
   13

   14      127.      Defendant has violated Section 1770(a)(13) by misrepresenting
   15 the regular reference price of products on the Sunglass Hut’s website and by

   16
        advertising false discounts and savings.
   17

   18      128.      Defendant’s practice of misrepresenting, actively concealing,
   19 and/or failing to disclose the true prices of the products listed on its website

   20
        violated and continues to violate the CLRA.
   21

   22      129.      Defendant’s misrepresentations were likely to deceive, and did
   23 deceive, Plaintiff and reasonable consumers. Defendant knew, or should have

   24
        known, that these statements were inaccurate and misleading.
   25

   26      130.      Defendant’s misrepresentations were intended to induce
   27
        reliance, and Plaintiff reasonably relied on them when making her purchase.
   28
                                           44
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.45    Page 45 of 57




    1 Defendant’s misrepresentations were a substantial factor in Plaintiff’s

    2
        purchase decision.
    3

    4      131.     Defendant’s deceptive practices significantly impacted Plaintiff

    5 and the members of the California Subclass. The misleading information

    6
        presented was material, meaning a reasonable person would consider it
    7

    8 heavily when deciding to buy products. This false information directly caused

    9 financial harm. Plaintiff and the members of California Subclass ended up
   10
        purchasing goods they otherwise would not have purchased or spending more
   11

   12 than the products’ true value.

   13      132.     Class-wide reliance can be inferred because Defendant’s
   14
        misrepresentations were material, in that a reasonable consumer would
   15

   16 consider them important when deciding whether to buy a product and how

   17 much to pay for a product.

   18
           133.     Defendant’s misrepresentations were a substantial factor and
   19

   20 proximate cause in causing damages and losses to Plaintiff and the members

   21 of the California Subclass.

   22
           134.     Plaintiff and the members of the California Subclass were injured
   23

   24 as a direct and proximate result of Defendant’s conduct because they would

   25 not have purchased the products if they had known the truth, and/or they

   26
        overpaid for the products because the products were sold at a price premium
   27

   28
                                         45
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.46     Page 46 of 57




    1 due to the misrepresentation.

    2
           135.     Accordingly, pursuant to Cal. Civ. Code § 1780(a)(2), Plaintiff,
    3

    4 on behalf of herself and all other members of the California Subclass, seeks

    5 injunctive relief.

    6
           136.     The practices outlined above have caused significant harm to
    7

    8 Plaintiff, the California Subclass, and the public at large. Plaintiff and the

    9 California Subclass members’ injuries were proximately caused by
   10
        Defendant’s unlawful and deceptive business practices. These unlawful and
   11

   12 unfair practices are ongoing and will likely continue unless stopped.

   13 Therefore, Plaintiff seeks a permanent injunction to prevent Defendant from

   14
        engaging in such deceptive tactics. Additionally, Plaintiff seeks compensation
   15

   16 for attorney fees and costs incurred. Finally, under the CLRA, Plaintiff seeks

   17 a public injunction to protect the general public from Defendant’ misleading

   18
        advertising and omissions.
   19

   20      137.     Pursuant to Cal. Civ. Code § 1782(a), on August 1, 2024,
   21 Plaintiff’s counsel served Defendant with notice of its CLRA violations by

   22
        certified mail, return receipt requested. Defendant acknowledged receipt of
   23

   24 the CLRA demand notice on August 5, 2024.

   25      138.     Defendant has failed to provide appropriate relief for their CLRA
   26
        violations within 30 days of its receipt of Plaintiff’s demand notice.
   27

   28
                                          46
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24    PageID.47    Page 47 of 57




    1 Accordingly, pursuant to §§ 1780 and 1782(b) of the CLRA, Plaintiff is

    2
        entitled to recover actual damages, punitive damages, attorneys’ fees and
    3

    4 costs, and any other relief the Court deems proper.

    5                              COUNT VI
    6     VIOLATION OF CALIFORNIA’S FALSE ADVERTISING LAW
                                     (“FAL”)
    7               Cal. Bus. & Prof. Code §§ 17501 et seq.
    8          (On behalf of Plaintiff and the California Subclass)

    9      139.      Plaintiff repeats and realleges each and every allegation
   10
        contained in paragraphs 1–138 as if fully set forth herein.
   11

   12      140.      Plaintiff brings this claim individually, and on behalf of the

   13 members of the California Subclass against Defendant.

   14
           141.      Defendant has violated Section 17501 of the California Business
   15

   16 and Professions Code.

   17      142.      Defendant has engaged in false or misleading advertising in
   18
        violation of the FAL. Defendant advertised, and continues to advertise,
   19

   20 reference prices and “sale” prices that are false, misleading and/or have the

   21 tendency and likelihood to deceive reasonable consumers. Brady v. Bayer

   22
        Corp., 26 Cal. App. 5th 1156, 1173 (2018) (“these laws prohibit ‘not only
   23

   24 advertising which is false, but also advertising which[,] although true, is either

   25 actually misleading or which has a capacity, likelihood or tendency to deceive

   26
        or confuse the public.’”). To state a claim under the FAL “‘it is necessary only
   27

   28
                                           47
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.48    Page 48 of 57




    1 to show that “members of the public are likely to be deceived.”’ Id. (citations

    2
        omitted).
    3

    4      143.     Defendant engaged in deceptive advertising practices within

    5 California and nationwide. These practices involved promoting its products

    6
        through online platforms that contained untrue or misleading statements about
    7

    8 the advertised goods. Notably, Defendant knew, or should have known with

    9 reasonable diligence, the information they disseminated was inaccurate.
   10
           144.     As alleged more fully above, Defendant advertises reference
   11

   12 prices on its website along with discounts.

   13      145.     The reference prices advertised by Defendant were not the
   14
        prevailing market prices for the products within three months preceding
   15

   16 publication of the advertisement.

   17      146.     Defendant’s reference price advertisements do not state clearly,
   18
        exactly, and conspicuously when, if ever, the former reference prices
   19

   20 prevailed. Indeed, the advertisements do not indicate whether or when the

   21 purported former reference prices were offered at all.

   22
           147.     The deceptive advertising practices employed by Defendant led
   23

   24 Plaintiff and the members of the California Subclass to make decisions based

   25 on inaccurate information. Defendant’s misrepresentations were intended to

   26
        induce reliance, and Plaintiff reasonably relied on these misrepresentations
   27

   28
                                          48
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.49   Page 49 of 57




    1 when making her purchase decision.

    2
           148.     Class-wide reliance can be inferred because Defendant’s
    3

    4 misrepresentations were material.

    5      149.     Defendant’s misrepresentations were a substantial factor and
    6
        proximate cause in damages to Plaintiff and the members of the California
    7

    8 Subclass.

    9      150.     Plaintiff and the members of the California Subclass were injured
   10
        as a direct and proximate result of Defendant’ conduct because they would
   11

   12 not have purchased the products if they had known the truth, and/or they

   13 overpaid for the products because the products were sold at a price premium

   14
        due to the misrepresentation.
   15

   16                                  COUNT VII
           Violation of California’s False Advertising Law, Bus & Prof. Code
   17                                 §§17500 et seq.
   18              (On behalf of Plaintiff and the California Subclass)
   19      151.     Plaintiff repeats and realleges each and every allegation
   20
        contained in paragraphs 1–150 as if fully set forth herein.
   21

   22      152.     Plaintiff brings this claim individually and on behalf of the
   23 California Subclass.

   24
           153.     Defendant has violated Section 17500 of the California Business
   25

   26 and Professions Code.

   27
           154.     As alleged more fully above, Defendant has made and
   28
                                          49
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.50    Page 50 of 57




    1 disseminated false and misleading statements of facts in advertisements to

    2
        Plaintiff and the California Subclass members by advertising false reference
    3

    4 prices and false discounts regarding its products.

    5      155.     Defendant’s representations were likely to deceive, and did
    6
        deceive, Plaintiff and reasonable consumers. Defendant knew, or should have
    7

    8 known, that these statements were inaccurate and misleading.

    9      156.     Defendant’s misrepresentations were intended to induce
   10
        reliance, and Plaintiff reasonably relied on the statements when purchasing
   11

   12 the products. Defendant’s misrepresentations were a substantial factor in

   13 Plaintiff’s purchase decision.

   14
           157.     Class-wide reliance can be inferred because Defendant’s
   15

   16 misrepresentations were material in that they concerned the price of the

   17 product.

   18
           158.     Defendant’s misrepresentations were a substantial factor and
   19

   20 proximate cause in damages to Plaintiff and the members of the California

   21 Subclass.

   22
           159.     Plaintiff and the members of the California Subclass were injured
   23

   24 as a direct and proximate result of Defendant’s conduct because they would

   25 not have purchased the products if they had known the truth, and/or they

   26
        overpaid for the products because the products were sold at a price premium
   27

   28
                                         50
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1    Filed 12/19/24   PageID.51     Page 51 of 57




    1 due to the misrepresentation.

    2
                                  COUNT VIII
    3     VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
    4                                (“UCL”)
                       Bus. Prof. Code §§ 17200, et seq.
    5          (On behalf of Plaintiff and the California Subclass)
    6
           160.     Plaintiff repeats and realleges each and every allegation
    7

    8 contained in paragraphs 1–159 as if fully set forth herein.

    9      161.     Plaintiff brings this claim individually and on behalf of herself
   10
        and all members of the California Subclass.
   11

   12      162.     The UCL prohibits and provides civil remedies for unfair

   13 competition. Its purpose is to protect both consumers and competitors by

   14
        promoting fair competition in commercial markets for goods and services. In
   15

   16 service of that purpose, the California legislature framed the UCL’s

   17 substantive provisions in broad, sweeping language. By defining unfair

   18
        competition to include any “any unlawful, unfair or fraudulent business act or
   19

   20 practice,” the UCL permits violations of other laws to serve as the basis of an

   21 independently actionable unfair competition claim and sweeps within its

   22
        scope acts and practices not specifically proscribed by any other law.
   23

   24      163.     Defendant’s acts and omissions alleged herein, specifically
   25 Defendant’s violations of the CLRA and FLA, constitute unfair competition

   26
        and/or unlawful, unfair, or fraudulent business practices in violation of the
   27

   28
                                          51
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24   PageID.52    Page 52 of 57




    1 UCL.

    2
           164.      Defendant’s actions and omissions have violated, and continue
    3

    4 to violate, the “unlawful” prong of the UCL by creating misleading

    5 advertisements     with inflated reference prices and false discounts.
    6
        Additionally, Defendant has engaged in deceitful practices as outlined in Cal.
    7

    8 Civ. Code §§ 1705, 1709, and 1713. Further, Defendant engaged in unlawful

    9 conduct by violating the Federal Trade Commission Act (“FTCA”), which
   10
        prohibits “unfair or deceptive acts or practices in or affecting commerce” and
   11

   12 prohibits the dissemination of false advertisements. 15 U.S.C. § 45(a)(1), 15

   13 U.S.C. § 52(a). As the FTC’s regulations make clear, Defendant’s false

   14
        pricing scheme violates the FTCA. 16 C.F.R. §§ 233.1, et seq.
   15

   16      165.      As further alleged herein, Defendant’s conduct also violates the
   17 “deceptive” prong of the UCL in that Defendant’ representations that its

   18
        products were on sale, that the sale was limited in time, that the products had
   19

   20 a specific regular price, and that the customers were being offered discounts

   21 from a higher value, were false and misleading.

   22
           166.      Defendant’s material misrepresentations, omissions, and lack of
   23

   24 disclosure are likely to mislead reasonable and potential customers, along

   25 with the general public. These practices are inherently deceptive and mislead

   26
        consumers.
   27

   28
                                          52
                                CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24   PageID.53     Page 53 of 57




    1      167.      Plaintiff and the members of the California Subclass relied upon
    2
        Defendant’s misrepresentations and omissions, as set forth above.
    3

    4      168.      Defendant’s misrepresentations and omissions are significant

    5 because a reasonable consumer would consider this information when making

    6
        purchasing decisions. Plaintiff reasonably relied upon this misleading
    7

    8 information and would have acted differently if he had been presented with

    9 accurate details. Similarly, class-wide reliance can be inferred because
   10
        Defendant’s misrepresentations were material in that they concerned the price
   11

   12 of the product.

   13      169.      Defendant’s conduct, as alleged above, was immoral, unethical,
   14
        oppressive, unscrupulous, and substantially injurious to consumers.
   15

   16      170.      Defendant violated the “unfair” prong of the UCL by falsely
   17 representing that that its products were on sale, that the sale was limited in

   18
        time, that the products had a regular reference price higher than the sale price,
   19

   20 and that the customers were receiving discounts.

   21      171.      Defendant violated established public policy by violating the
   22
        CLA, the FAL, and the FTCA.
   23

   24      172.      Defendant’s misrepresentations and omissions resulted in it
   25 receiving more money from Plaintiff and the members of the California

   26
        Subclass than it rightfully deserved. This money is subject to restitution. As
   27

   28
                                           53
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG     Document 1     Filed 12/19/24   PageID.54    Page 54 of 57




    1 a direct consequence of Defendant’s unfair, unlawful, and deceptive

    2
        practices, Plaintiff and the members of the California Subclass suffered
    3

    4 financial losses.

    5      173.     Plaintiff and the members of the California Subclass were injured
    6
        as a direct and proximate result of Defendant’s conduct because they would
    7

    8 not have purchased the products if they had known the truth, and/or they

    9 overpaid for the products because the products were not worth the “regular”
   10
        reference price represented by Defendant.
   11

   12      174.     The harm to Plaintiff and the members of the California Subclass

   13 greatly outweighs the public utility of Defendant’s conduct. False statements

   14
        in connection with the sale of consumer products harms consumers and
   15

   16 injures competition. There is no public utility to misrepresenting the price of

   17 a consumer product. This injury was not outweighed by any countervailing

   18
        benefits to consumers or competition.
   19

   20      175.     Plaintiff and the members of the California Subclass could not
   21 have reasonably avoided the injury caused by Defendant.

   22
           176.     Without an injunction, Defendant will continue to harm Plaintiff,
   23

   24 the members of the California Subclass, and prospective consumers at large.

   25 Defendant’s misrepresentations and omissions are ongoing, and even if it

   26
        were to stop temporarily, there is a risk of it repeating these deceptive
   27

   28
                                         54
                               CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG      Document 1     Filed 12/19/24    PageID.55    Page 55 of 57




    1 practices.

    2
           177.      Plaintiff, on behalf of herself and all members of the California
    3

    4 Subclass, seeks public injunctive relief under the UCL to safeguard the

    5 general public from Defendant’s deceptive discount advertising and

    6
        misleading omissions.
    7

    8      178.      Defendant’s actions have caused substantial harm to Plaintiff, the

    9 California Subclass, and the public. These practices are ongoing and are likely
   10
        to continue unless stopped.
   11

   12      179.      Therefore, Plaintiff seeks a permanent injunction to prevent

   13 Defendant from engaging in such unlawful, unfair, and fraudulent business

   14
        practices. Additionally, Plaintiff seeks restitution for the California Subclass
   15

   16 in an amount to be determined at trial, as well as attorney fees and costs under

   17 Cal. Code Civ. Proc. § 1021.5. Further Plaintiff, on behalf of the members of

   18
        the California Subclass, requests that he be awarded all relief as may be
   19

   20 available by law, pursuant to Cal. Bus. Prof. Code § 17203.

   21                             PRAYER FOR RELIEF
   22
              WHEREFORE, Plaintiff respectfully requests that the Court enter
   23

   24 judgment against Defendant as follows:

   25         A.     Certifying this action as a class action under Rule 23(b)(2) and
   26
        (b)(3) of the Federal Rules of Civil Procedure and naming Plaintiff as a
   27

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                                           55
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG       Document 1     Filed 12/19/24      PageID.56   Page 56 of 57




    1 representative of the Classes and Plaintiff’s undersigned attorneys as Class

    2
        Counsel to represent the Classes;
    3

    4         B.     For an Order declaring that Defendant’ conduct violated the laws

    5 referenced herein;

    6
              C.     For an Order finding in favor of Plaintiff and the Classes on all
    7

    8 counts asserted herein;

    9         D.     For an Order awarding actual, statutory, treble, and punitive
   10
        damages as applicable;
   11

   12         E.     For an Order awarding pre-judgment and post-judgment interest

   13 on all amounts awarded;

   14
              F.     For injunctive relief as pleaded or as the Court may deem proper;
   15

   16         G.     For disgorgement and restitution to Plaintiff and the members of
   17 the Classes of all monies received or collected from Plaintiff and the members

   18
        of the Classes and all other forms of equitable relief;
   19

   20         H.     For an Order awarding reasonable attorneys’ fees and expenses
   21 and costs of suit; and

   22
              I.     For such other and further relief as the Court may deem proper.
   23

   24                          DEMAND FOR JURY TRIAL
   25         Plaintiff hereby demands trial by jury as to all triable issues.
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                                           56
                                 CLASS ACTION COMPLAINT
Case 3:24-cv-02401-L-AHG   Document 1   Filed 12/19/24   PageID.57   Page 57 of 57




    1 Dated: December 19, 2024     Respectfully submitted,
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    3

    4                              By: /s/ Kyle McLean
                                   Kyle McLean (SBN 330580))
    5                              Lisa R. Considine*
    6                              David J. DiSabato*
                                   Leslie L. Pescia*
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   12                              Email: ddisabato@sirillp.com
                                   Email: lpescia@sirillp.com
   13                              Attorneys for Plaintiff and the Proposed
   14                              Class
   15                              *Pro hac vice forthcoming
   16

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                            CLASS ACTION COMPLAINT
